Unlted States Courts

Case 19-30132 Document 3 Filed in TXSB on Ol/lOPthel:?§rg%ooTe£as

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Mm Natural Chem Holdings. LLC

 

Uniled S\ates Bankruptcy Court furthe:

Case number (lf lmown):

 

Southem nw d Texas

 

(S\Bv)

 

Officia| Form 204

Chapter 1 1 or Chapter 9 Cases: List of Creditors Who l-lave the 20 Largest

unsecured Claims and Are Not insiders

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JAN 10 2019

Davld J. Brad|ey, C|Grk 01 COUri

El Check if this is an
amended filing

12115

A list of creditors holding the 20 largen unsecured claims must be liled ln a Chapter 11 or Chapter 9 case. lnclude claims which the debtor
dlsputes. Do not include claims by any person or entity who is an lnsider, as defined ln 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured cla|ms.

Name cl creditor and complete
mailing address, lndudlng zlp code

St. Paul Commodities
c/o ClarkHillStasburger
2600 Dallas Pkwy.. #600
Frisco, TX 75034

Agenda LLC

c/o S. DuBose Esq.

1333 Old Spanish, #6364
Houston, TX 77054

IPFS

c/o Freedman Price

1102 West Ave., #200
Austir_\, TX 78701

Trinity Consu|tants

12445 55th St. N. Ste. A2
Lake Elmo, MN 55042

Roosevelt County
212 W. First St.
Portales, NM 88130

NAES corp1
P.O. Box 94274
Seatue, wA 98124

Christianson & vAssociates

302 Sth St.
Wi|lmar, MN 56201

. Sue Koss
c/o K. Marquard, Esq.
2322 E. Kimberl Rd.#100#
Davenport, lA 5 807

Ofiicial Form 204

Name, telephone number, and Nature of the claim

small address of creditor (for exampie, trade

contact
professional

services, and
govemment
convecls)
Jannifer Justice, Esq. OOmmOdity
469 287 3923 supp||ier
%if;lrsgrasburgsr.ccm
S.DuBose, Esq. financial
832-534-0356 advisor

sdubose@duboselawoilice.oom

Stephen E. Price,"l_':'s'q. insurance l

512 687 0900 provider
sprioe@freedmanprice.com

' usa Koehn ' ” ` ehvirohmehrai‘
651-275-9900 services
lkoehn@lrinityconsultants.com

Randy Knudson, '"Esq. taxes
575-359-1289
lawyers@yucca.net

Steven DeGracia, Esq. employee and

lndlcatelf Amountofunsecuredclalm

claimls

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collateraler
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` disputed

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$300,000 , $0

disputed `

1-425-9614700 maintenance 7
Steven.DeGracia@naes.com PrOV|der

Fred Gould accounting
320-441-5541 services
Fred@christiansoncpa.com

Sue Koss employee
563-355-6060

kawm@emprights.com

Chapter 11 or Chapter 9 Cases: Llst of Credltors Who Have the 20 Largest Unsecured Clalms

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m wemms¢vnw@w\aemmreddaim.

unsecured
claim

$100,000

$25,000

$27,000

$40,000

$300,000

$400,000

$400,000

$4,000

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Case number irv»¢rii_

 

Neme

Nameofcredltorand

Name. telephone number,end

complete
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government
oomracrs)
Tohl claim, if Deduction for Unsecured
partially ' value of claim
secured collateral or
4 . eetdff
Davis Brown 1
215 1001 si., suite 1300 §§as'_‘zg£§“$%s§"' Esq' ;e§r€:(;es 35,000
Des Moinesl |A 50309 SMW@(,M_U
Americen Finaeee, ind F'Ndpeieen `Butic 4 w debt ' ' d '
8300 FM 1960 West, #450 832.225.2061 advisor disputed ' $30,000
Houston, TX 77070 nbufic@americariinasoo-Oom
xcei E'riergy ' customer service ' utility
P.O. Box 8 8°°481'47°° provider $25,000
Eau C`aire, W| 54702 Woe@xoe|energy@m
Me"i°k & C°mpa"y Emil Blodel, Es . 77 d en` ineerin 7
597° G'ee"‘”?y P'eza 303-§53-3649 q se?vices. g $6,700
SG(i)'eeqiwood Village, CO Emiiy.eieedei@memek.eom
rCam'er Rental Systems Jehnifer Jame$ 4
35961 Ea?_le Way 800 509'6060
Chicago, l 60678 jennifeijames@trustalstus.com
Eco-Engineers Shashi Menon equipment
|300 E Locust St., #1300 515-985-1260 _ repair ' $30,000
Des Moines, lA 50309 <Smenor\@ewengmeers~us
ACT Fuels lnc. N'ch las Pa tidis '
;3`_ItM1aig;iason Ave. 21'2-§0.'.1-12€’515ayo §§g;g:§g'ty $25 000
1 ul e . . ,
New Yed<, NY 10022 "°°"°’°“d‘s@i "“ Ww`®m 7 y v
quwnstein Farber Hal Stratton, Esq_ legal Services
Suite 1_700 505_724_9596 $150,000
201 Th"d St" NW HStratton@bhfs com
Albuquerque, NM 87102 ,_. . ,, ', . ,, . , 0
Holland & Hart Stephen D. Falcon legal Sel'ViCeS
555 17th St. 303-295-8027 $20,000
Denvel', CO 80202 SDFaloon@hollandhan.com
Barton Solvents, lnc. Tyler Chase chemical
P.O. Box 970 563-355-0203 supplier $25-°°°
Bettendorf, |A 52722 tylerc@barsol.eom
B|uevine Cap'rtal Brad Magill, Esq. lender
c/o B. Magi|l, Esq. , 888-304-4347 $50,000
www.tclginc.oom
Carrier Rental Systemsr Kevin Bertrand 7 equipment"‘ 176 000.7
35961 Eag|e Way 800-586-8336 rental $ 01
Chicago. lL 60678
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